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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                        Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department                     C.A. No.
of Correction,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                       Defendants.


              PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Local Rules 5.4(g)(1)(A) and 7.2 of the United States District Court for the

District of Massachusetts, Plaintiffs respectfully move for leave to file under seal and impound

Exhibits 7-9 to the Declaration of Robert Frederickson III In Support Of Plaintiffs’ Emergency

Motion For A Temporary Restraining Order And Preliminary Injunction.

       As ground for this motion, Plaintiffs state as follows:

       1. The above-referenced Exhibits contain excerpts from the confidential DOC medical

records of Plaintiffs Joseph Sclafani, Michael Feinstein, and Bret Cappola. These records contain

Plaintiffs’ personally identifiable information and sensitive medical information that is covered by

42 C.F.R. Part 2 and the HIPAA Privacy Rule, 45 C.F.R. Part 160. This Court has previously

granted motions to seal medical records that were submitted at the pleading stage. See, e.g., Unitt

v. Bennett, No. CV 17-11468-RGS, 2018 WL 1732156, at *9 (D. Mass. Apr. 10, 2018).

       2. These medical records provide important support for Plaintiffs’ request for emergency

relief. In light of the urgency of this matter, it is necessary to include these confidential medical
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records in Plaintiffs’ supporting declaration for emergency relief, prior to entry of a protective

order.

         3. These documents are excerpts of Plaintiffs’ DOC medical records, and are therefore

already in Defendants’ possession, but will be provided to Defendants and to Nancy White,

General Counsel of the Massachusetts Department of Correction, Stephen Dietrick, Deputy

General Counsel of the Massachusetts Department of Correction, Susan Terrey, General Counsel

of the Executive Office of Public Safety and Security, and John Melander, Deputy General Counsel

of the Executive Office of Public Safety and Security via secure file transfer.

         4. Plaintiffs propose that the Order sealing the materials described above be lifted only in

the instance of a further order of the Court, and that the sealed documents be kept in the clerk’s

nonpublic information file during any post-impoundment period.

         5. Plaintiffs will hand deliver a copy of the sealed material to this Court.



         WHEREFORE, Plaintiffs respectfully request that the Court allow this motion.


Dated: December 19, 2019                        Respectfully submitted,

                                                JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
                                                and BRET CAPPOLA

                                                By their attorneys,

                                                /s/ Robert Frederickson III
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       LOCAL RULE 7.1(a)(2) CERTIFICATE AND CERTIFICATE OF SERVICE

       The undersigned counsel certifies pursuant to Local Rule 7.1 that Plaintiffs’ counsel made

a good faith effort to resolve the parties’ dispute through a pre-suit demand letter, which requested

assurances that for the duration of their incarceration in the custody of the Massachusetts

Department of Correction, Plaintiffs Feinstein and Cappola will be provided with their

buprenorphine maintenance treatment at the dosages previously prescribed by their medical

providers. In the pre-suit demand letter, Plaintiffs’ counsel also requested assurances that Plaintiff

Sclafani would be put back onto his buprenorphine maintenance treatment, and that, for the

duration of his incarceration in the custody of the Massachusetts Department of Correction, he will

be provided with his buprenorphine maintenance treatment at the dosage previously prescribed by

his medical provider. Neither Defendants’ counsel nor their representatives provided such

assurances in their response. Due to the urgent nature of the requested relief, counsel have not yet

had an opportunity to meet and confer with Defendants or their counsel.

       The undersigned further certifies that this document will be sent electronically to Nancy

White, General Counsel of the Massachusetts Department of Correction, Stephen Dietrick, Deputy

General Counsel of the Massachusetts Department of Correction, Susan Terrey, General Counsel

of the Executive Office of Public Safety and Security, and John Melander, Deputy General

Counsel of the Executive Office of Public Safety and Security this 19th day of December, 2019.

                                               /s/ Robert Frederickson III
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                                               and Bret Cappola
